          Case 5:22-cv-04284-JFL Document 12 Filed 04/11/23 Page 1 of 1




                      UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF PENNSYLVANIA
____________________________________

JOHN J. SPEICHER, et al.,                   :       CIVIL ACTION
                  Plaintiffs,               :
                                            :
              v.                            :       No. 5:22-cv-4284
                                            :
ROCKET MORTGAGE, LLC,                       :
                  Defendant.                :
____________________________________

                                          ORDER

       AND NOW, this 11th day of April, 2023, upon consideration of Defendant’s Motion to

Dismiss the Complaint, Plaintiffs’ response, Defendant’s reply, and for the reasons stated in the

Court’s Opinion issued this same day, IT IS HEREBY ORDERED THAT Defendant’s Motion,

ECF No. 6, is GRANTED in part and DENIED in part as follows:

    1. Counts I, IV, and V of the Complaint are dismissed with prejudice. 1

    2. Counts II and VI of the Complaint are dismissed without prejudice.

    3. Defendant’s Motion to Dismiss is denied as to Counts III and VII.

    4. Plaintiffs have 7 days from the date of this Order to file an Amended Complaint if they

       wish to replead the Counts that have been dismissed without prejudice.2

                                                    BY THE COURT:


                                                    /s/ Joseph F. Leeson, Jr.__________
                                                    JOSEPH F. LEESON, JR.
                                                    United States District Judge


1
  The Court dismisses these counts with prejudice because any amendments would be futile for
the reasons stated in the Opinion. See Boyd v. New Jersey Dept. of Corrections, 583 Fed. Appx.
30, 32 (3d Cir. 2014).
2
  Defendant has 21 days from the date of this Order to file an answer to the Complaint or, if
necessary, file a response to any Amended Complaint.
                                                1
                                             041023
